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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

DONALD FALLS, et. al.

        Plaintiffs,

vs.                                                 Case No.: 4:22-cv-00166

RON DESANTIS, in his official
capacity as Governor of Florida, et. al.

     Defendants.
___________________________________

      PLAINTIFF ROBERT CASSANELLO’S SUPPLEMENTAL BRIEF IN
         SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

        Plaintiff, Robert Cassanello, by and through undersigned counsel and

pursuant to this Court’s Order entered June 24, 2022 (Doc. 61), hereby files this

supplemental brief on the issue of his standing to sue the Florida Board of Governors

(FBOG). In support thereof, Dr. Cassanello states as follows:

I.      Introduction

        On June 23, 2022, Dr. Cassanello filed a notice of supplemental authority

regarding draft regulations circulated by the Florida Board of Governors

implementing the IFA to Florida’s University system. (Doc. 59). Defendants then

filed a response. (Doc. 60). The Court ordered the Parties to file additional briefing

addressing how—assuming the Board votes in favor—the proposed regulations

impact Dr. Cassanello’s standing to pursue injunctive relief. Id. The Court also asked
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the Parties to address how Ch. 2022-70, §1’s modification to Florida’s university

tenure system may or may not impact Dr. Cassanello’s standing. Id.

       FBOG’s proposed regulations demonstrate Dr. Cassanello’s standing to

pursue injunctive relief against them. The regulations require universities to

investigate professors for violations of the IFA, require universities to mandate

changes to instruction and issue disciplinary measures to teachers who violate the

IFA, and withhold university performance funding if universities fail to comply.

Thus, the regulations pose a credible threat of enforcement if Dr. Cassanello teaches

his planned curriculum sufficient to confer a concrete injury. Furthermore, Dr.

Cassanello’s injuries are traceable to FBOG, because the regulations require

universities to enforce the IFA and impose sanctions on universities if they fail to do

so. Finally, an order enjoining FBOG from implementing these or similar regulations

or taking other action to enforce the IFA on Florida’s University System would

redress Dr. Cassanello’s injuries.

II.    Provisions at Issue

       A.    FBOG Regulations Implementing the IFA

       The proposed FBOG regulations require each university to adopt a regulation

that prohibits “discrimination”—as that term is defined by the IFA—by “subjecting

any student or employee to training or instruction that espouses, promotes, advances,

inculcates, or compels such student or employee to believe any of the” IFA’s


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forbidden concepts. (Doc. 59-1 at § 10.005(2)(a))). It further requires universities to

establish a method for submitting and receiving complaints of alleged violations of

that regulation. Id. The FBOG’s regulations further require universities to “direct,

supervise, or coordinate” the investigation of “credible complaints that identify a

training or instruction that espouses, promotes, advances, inculcates, or compels a

student or employee to believe any of the concepts.” Id. at 3(b). Following the

university’s investigation, the FBOG’s regulations require universities to act as

follows:

              In the event the investigation finds that an instruction or
              training is inconsistent with the university regulation
              [adopting the IFA], the university shall inform the Board
              of Governors through the Office of Inspector General and
              take prompt action to correct the violation by mandating
              that the employee(s) responsible for the instruction or
              training modify it to be consistent with the university
              regulation, issuing disciplinary measures where
              appropriate, and remove, by termination if appropriate, the
              employee(s) if there is a failure or refusal to comply with
              the mandate.

Id. at § 10.005(3)(c).

       If FBOG itself receives a “credible allegation” that a university “willfully and

knowingly failed to correct a violation” of the mandated university regulation

implementing the IFA, FBOG’s Office of Inspector General is required to

“investigate to determine if evidence exists to support the allegation and eligibility

for performance funding.” Id. at §10.005 (4)(a). FBOG may also enlist an “external


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qualified investigative firm” to assist in the investigation at the subject university’s

expense. Id. FBOG’s Inspector General then submits its findings to the chair of the

university’s board of trustees, who has an opportunity to respond. Id. at

§10.005(4)(b). FBOG’s Audit and Compliance Committee then makes a

recommendation to FBOG as to whether it should substantiate an allegation that the

university willfully and knowingly failed to correct a violation of the university

policy implementing the IFA. Id. at §10.0054(c). If FBOG ultimately determines the

university willfully and knowingly engaged in conduct at the institutional level that

constituted a substantiated violation of failing to correct a violation of the

university’s regulation implementing the IFA, the university will be ineligible for

performance funding for the next following year following the year in which FBOG

made the determination. Id. at § 10.0054(d).

      In sum, FBOG’s proposed regulations require all public universities to

investigate and enforce the IFA’s prohibitions on classroom instruction espousing

the forbidden principles. If anyone alleges that a university failed to do so, FBOG

then initiates its own investigation into the university’s failure to comply, where

FBOG itself acts as the investigator, prosecutor, and judge to determine if the

violation will result in the university losing performance funding.




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      B.     The Florida Legislature’s Changes to Professor Tenure

       In tandem with passing the IFA, Florida’s legislature also made changes to

tenure for university professors that permits FBOG greater authority to regulate

professors with tenure. See Laws of Fla. 2022-70 (codified at §1001.706(6), Fla.

Stat. (2022)). This new statutory authority provides:

             (b) The Board of Governors may adopt a regulation
             requiring each tenured state university faculty member to
             undergo a comprehensive post tenure review every 5
             years. The board may include other considerations in the
             regulation, but the regulation must address:
             1. Accomplishments and productivity;
             2. Assigned duties in research, teaching, and service;
             3. Performance metrics, evaluations, and ratings; and
             4. Recognition and compensation considerations, as well
             as improvement plans and consequences for
             underperformance

Id. In other words, in addition to FBOG’s general oversight over personnel programs

for state universities, they may now take an active role in reviewing tenured

professors based on any considerations they wish, including—presumably—

compliance with the IFA and its implementing regulations.

      The new law also requires universities and colleges to publicly post all

instructional materials for at least 95% of all university courses to be posted as early

as feasible, but at least 45 days before the first day of class and keep the list posted

for at least 5 academic years. Id. at § 1004.085(5)(b). The effect, if not intention, of

this provisions is to empower anyone to avail themselves to the IFA’s enforcement


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mechanisms, either through private right of action or FBOG’s mandated

investigations, well in advance of instructional materials being offered to students

or well after professors teach these materials by monitoring publicly posted lists for

books that run afoul of the IFA’s eight forbidden principles.

III.   Dr. Cassanello Has Suffered A Concrete Injury Because the IFA and
       FBOG Regulations Implementing the IFA Chill His Protected Speech.

       Under Article III, “the injury requirement is most loosely applied—

particularly in terms of how directly the injury must result from the challenged

government action—where First Amendment rights are involved, because of the fear

that free speech will be chilled even before the law, regulation, or policy is

enforced.” Pittmann v. Cole, 267 F.3d 1269, 1283 (11th Cir. 2001) (quoting

Hallandale Professional Fire Fighters Local 2238 v. City of Hallandale, 922 F.2d

756 (11th Cir. 1991)). When mounting a pre-enforcement First Amendment

challenge, a plaintiff need only show “an intention to engage in a course of conduct

arguably affected with a constitutional interest,” but “proscribed by a statute,” and

there exists a “credible threat” of enforcement. Id. “A plaintiff need not expose

herself to enforcement of a law to challenge it in the First Amendment context;”

instead, “an actual injury can exist where the plaintiff is chilled from exercising her

right to free expression or forgoes expression in order to avoid enforcement

consequences.” Bloedorn v. Grube, 631 F.3d 1218, 1228 (11th Cir. 2011).



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      When regulations restrict full-throated debate over controversial topics, the

Supreme Court has liberally interpreted the standard of whether speech “arguably”

falls within a law’s proscriptions. See Babbitt v. United Farm Workers National

Union, 442 U.S. 289 (1979). In Babbitt, farmworkers brought suit challenging

provisions of Arizona’s Agricultural Employment Relations Act that, among other

things, made it a crime for labor organizations to “induce or encourage the ultimate

consumer of any agricultural produce to refrain from purchasing, consuming, or

using such agricultural product by the use of dishonest, untruthful, and deceptive

publicity.” Id. at 295, n. 6. The Court held that the plaintiffs had suffered a concrete

injury, rejecting the defendants’ argument that the criminality provision “has not

been applied and may never be applied” to commissions of unfair labor practices

involving forbidden consumer publicity. Id. at 301. The plaintiffs did not even claim

they intended to violate the statute by engaging in “dishonest, untruthful, [or]

deceptive publicity.” Id. Rather, they relied on the truism that “erroneous statement

is inevitable in free debate.” Id. (quoting New York Times Co. v. Sullivan, 376 U.S.

254, 271 (1964)). The plaintiffs then argued that to avoid criminal prosecution, they

would need to curtail their consumer appeals and forgo full exercise of their First

Amendment rights. Id.

      Here, the IFA and FBOG’s regulations create the same climate where Dr.

Cassanello is forced to curtail his full exercise of his First Amendment rights. As a


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professor whose area of instruction includes the civil rights movement and Jim Crow

America, it is “inevitable” that some viewpoint he endorses could be perceived as

violating the IFA’s prohibitions—and FBOG’s regulations require the University of

Central Florida to investigate and “correct” every perceived violation on penalty of

losing their performance funding. Dr. Cassanello’s declaration explains how this

environment exposes him to the same chilling effect discussed in Babbitt by stating

the IFA “forces him to second guess all my instructional materials to determine if

they could be construed as violating one of the law’s forbidden viewpoints.” (Doc.

30-2 “Cassanello Declaration” at ¶ 21).

      Dr. Cassanello’s evidence also goes a step beyond what the plaintiffs offered

in Babbitt, as he identifies specific viewpoints he has espoused in his prior courses

or courses he intends to offer next year that—at minimum, arguably—violate the

IFA’s prohibitions. A substantial part of Dr. Cassanello’s instruction involves

showing how facially race-neutral policies enacted after Brown v. Board of

Education actually disadvantaged the black community. Id. at ¶ 16. Dr. Cassanello’s

instruction also debunks narratives suggesting disparities in racial equity in our

“colorblind” society are the product of hard work or innate intelligence based on his

criticisms of the Bell Curve Theory and teaching texts that demonstrate how

advances in the labor movement disproportionately benefited white workers. Id. at

¶¶ 9–10, 13. Under the IFA and FBOG’s regulations, the university would be


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required to investigate (and likely discipline) Dr. Cassanello for espousing these

viewpoints because they espouse “virtues such as…fairness, neutrality, and racial

colorblindness…were created by members of a particular race…to oppress members

of another race…” (Doc. 59-1 at §1(a)).

      FBOG’s requirement that universities discipline teachers if they refuse to

comply with the IFA also impose a concrete injury on Dr. Cassanello. This Court

has found warnings that plaintiffs will be subject to professional discipline sufficient

to constitute a “credible threat” for Article III standing purposes. See Allen v. School

Bd. for Santa Rosa Country, Fla., 782 F. Supp. 2d 1304, 1310–11 (N.D. Fla. 2011).

In Allen, a group of teachers brought suit challenging provisions of a consent decree

that their school entered as a result of a settlement in a prior lawsuit alleging

Establishment Clause violations. Id. at 1311. The plaintiffs argued the consent

decree chilled their right to free exercise of religion and free expression.1 Id. at 1311–

12. They cited, as an example, the fact that a school official had told one plaintiff

she would be disciplined if she wore her school colors or sat with other teachers at a

private religious baccalaureate service. Id. The defendants argued that the teachers

lacked standing because their fears were hypothetical and not objectively reasonable

in light of the plain language of the consent decree which only prohibited them from


1
 Specifically, the consent decree provided, among other things, that school officials
could not “promote, advance, endorse, participate, or cause prayers during or in
conjunction with a school event.” Id. at 131, n. 7.
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“promoting, advancing, or endorsing” religion in their official capacity as teachers.

Id. at 1316.

      However, this Court disagreed and found that plaintiffs had standing sufficient

to seek a preliminary injunction enjoining a portion of the consent decree. Id. at

1316–18; 1327–28. It found that the school policies implementing the consent decree

arguably placed restrictions on the free speech rights of school district employees

and noted that the statement made to one teacher to refrain from expressive conduct

at private worship services or face discipline chilled the other teachers’ participation

in those services. Id. at 1316. This Court also noted the teacher’s concerns arising

from the vagueness of the consent decree, which caused them to alter their conduct

and left them uncertain regarding what conduct is permitted or will subject them to

discipline under the policies while attending religious events. Id. at 1317–18.

      Like the disciplinary threats in Allen, FBOG’s regulations also effect a

concrete injury on Dr. Cassanello by commanding that—if a violation is found—the

university must “mandate[] that the employee(s) responsible for the instruction

modify it to be consistent with the university regulation, issu[e] disciplinary

measures where appropriate and remove by termination, if appropriate, the

employee(s) if there is a failure or refusal to comply with the mandate.” Id. at § 3(c).

      Defendants will likely argue that the phrase “if appropriate” absolves FBOG

of culpability, because it creates the appearance that universities ultimately


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determine whether a professor will receive discipline. However, when read in

context with the rest of FBOG’s regulations, universities really have no discretion

but to discipline professors who refuse to comply with the IFA. Id.at § 4. If a

university fails to remedy a violation of the IFA, FBOG must conduct its own

investigation and, if it finds that the university willfully failed to “correct” a violation

of the IFA, withhold performance funding the following fiscal year. Id. Furthermore,

FBOG now has the statutory authority to directly audit the performance of tenured

university professors directly every five years, allowing them to monitor professors’

compliance for IFA violations even if the university fails to do so. See

§1001.706(6)(b), Fla. Stat. (2022).

       Finally, even if the university chose to risk its performance funding to stand

with their professors and decline to issue discipline, FBOG’s regulations still require

the university and FBOG itself to investigate violations of the IFA and treat them as

a form of race discrimination, Doc. 59-1 at § (2)(a). This in-and-of-itself inflicts

injury on professors sufficient to chill their speech. Indeed, the Supreme Court has

found standing to challenge viewpoint-based restrictions like the IFA even when

those restrictions lacked enforcement mechanisms that personally punished the

speaker. See Meese v. Keene, 481 U.S. 465 (1987). Meese involved a challenge to a

provision of the Foreign Agents Registration Act of 1938 that required expressive

materials designated as “political propaganda,” as defined by the Act, comply with

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the Act’s registration, filing, and disclosure requirements. Id. at 467. The plaintiff

brought suit challenging, not the Act’s registration and disclosure requirements, but

Congress’s use of the label “political propaganda” as the statutory name for the

category of expression the Act sought to regulate. Id. at 467.

      The Court found that the plaintiff had standing to challenge the statutory

designation based on his intention to display three films that met the statutory

definition of “political propaganda.” Id. at 473–74. The plaintiff presented evidence

that if he presented films labeled as “political propaganda,” his personal, political,

and professional reputation would suffer and his ability to obtain reelection and

practice his profession would be impaired. Id. at 474. The Court noted that the

plaintiff never alleged that fewer people would attend his screenings as a result of

the statutory label but cited the “risk that the much larger audience that is his

constituency would be influenced against him because he disseminated what the

government characterized as the political propaganda of a foreign power.” Id. at 475.

The Court also rejected the argument that the plaintiff could mitigate the reputational

harm by providing disclaimers before showing the films—such as noting one of the

films had won an Oscar. Id. at 475. It found that the need to take such affirmative

steps to avoid the risk of harm itself constituted a cognizable injury under the First

Amendment. Id.




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      Similarly, here, the IFA and FBOG regulations employ an invidious label to

those who engage in protected speech by labelling such expression “discrimination

on the basis of race, color, national origin or sex.” (Doc. 59-1 at § 10.005(2)(a))).

The reputational harm of being labeled as someone who engages in race

discrimination is self-evident—particularly for someone like Dr. Cassanello who has

spent his entire career researching and teaching about the civil rights movement.

(Doc. 30-2 “Cassanello Declaration” at ¶ 2). The University of Central Florida’s

Employee Code of Conduct, attached as Exhibit 1, states: “we have a zero-tolerance

policy for any form of discrimination.” Id. at 15. Likewise, under the University of

Central Florida’s policies, any complaint of discrimination substantiated by the

University’s Office of Institutional Equity must be forwarded to the President,

Provost, or Vice President to take appropriate corrective action. See UCF-3.0134(5),

attached as Exhibit 2.

      In sum, the regulations require universities to adopt policies prohibiting

discussion of concepts Dr. Cassanello intends to offer in his classroom instruction

and conduct investigations if anyone reports that he “espouses, promotes, advances,

inculcates, or compels a student or employee to believe any of the concepts.” The

FBOG’s regulations further require the university—on penalty of losing

performance funding—to “correct” Dr. Cassanello’s violation and impose discipline

if he refuses to change his instruction. Finally, even in the unlikely event that the


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university bucks the FBOG’s mandate, the FBOG’s own authority to investigate or

find that Dr. Cassanello engaged in “discrimination on the basis of race” inflicts an

injury separate and apart from formal discipline. Therefore, Dr. Cassanello has

shown that the IFA and FBOG’s regulations inflict a concrete injury on him.

IV.    FBOG Need Not Directly Discipline Dr. Cassanello For Their Actions to
       Be Fairly Traceable To His Injuries

       Defendants argue FBOG’s regulations do not change Dr. Cassanello’s

standing analysis, because his argument still relies on what they characterize as

“downstream” consequences of FBOG’s actions or a “hip bone connected to the

thighbone” argument. (Doc. 60 at 2). The implication behind such arguments is that

a plaintiff cannot demonstrate causation for purposes of standing unless the entity

sued directly acts against them. However, Defendants overstate Article III’s

traceability requirement in arguing that causation is too remote here.

       “A showing that an injury is ‘fairly traceable’ requires less than a showing of

‘proximate cause.’” Resnick v. AvMed, Inc., 693 F.3d 1317, 1324 (11th Cir. 2012).

Indeed, “[n]o authority has even remotely suggested that proximate causation applies

to the doctrine of standing.” Loggerhead Turtle v. County Council of Volusia County,

Fla., 148 F.3d 1231, 1251 (11th Cir. 1998). “[E]ven harms that flow indirectly from

the action in question can be said to be ‘fairly traceable’ to that action.” Focus on the

Family v. Pinellas Suncoast Transit Authority, 344 F.3d 1263, 1273 (11th Cir. 2003).



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       Defendants’ hip-bone, thigh-bone argument comes from statements in Lujan

that standing to challenge regulations on independent actors not before the court is

“substantially more difficult to establish.” (Doc. 60 at 2) (citing Lujan v. Defenders

of Wildlife, 504 U.S. 555, 562 (1992)) (cleaned up)). However, by “cleaning up” the

Court’s statement, Defendants omit important context and add words of their own in

attempt to align Lujan’s reasoning with FBOG’s regulations. The full quotation is as

follows:

             The existence of one or more of the essential elements of
             standing depends on the unfettered choices made by
             independent actors not before the courts and whose
             exercise of broad and legitimate discretion the courts
             cannot presume either to control or to predict, and it
             becomes the burden of the plaintiff to adduce facts
             showing that those choices have been or will be made in
             such manner as to produce causation and permit
             redressability of injury. Thus, when the plaintiff is not
             himself the object of the government action or inaction he
             challenges, standing is not precluded, but it is ordinarily
             substantially     more      difficult    to      establish.

Id. at 562 (quotations and citations omitted) (emphasis added).

       The meaning of “independent actors not before the courts” must be

understood in light of Lujan’s facts and reasoning. The opinion’s redressability

analysis 2—which only garnered support from a plurality of Justices—examined an



2
  The Court did not independently address traceability and redressability, but
Defendants seem to be using Lujan’s statements primarily to address the causation
or traceability requirement. (Doc. 60 at 2).
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attempt by environmental groups to enforce overseas a provision of the Endangered

Species Act requiring the Secretary of the Interior to “assist” federal agencies in

ensuring that any action “authorized, funded, or carried out by such agency” was not

likely to jeopardize certain endangered species. Id. at 557–58. Justice Scalia’s

finding that the plaintiffs could not prove redressability against the Secretary of

Interior rested on the fact that there was an open dispute as to whether the Secretary’s

regulations were even binding on the agencies who funded the projects at issue. Id.

at 568.

       Lujan’s cautionary words about the difficulty of establishing standing to

challenge regulations on third-parties do not apply to FBOG’s regulations for two

reasons. First, unlike the plaintiffs in Lujan, Dr. Cassanello is “himself the object of”

the challenged government action. Lujan, 504 U.S. at 562. FBOG’s proposed

regulations require universities to establish regulations prohibiting “discrimination”

by offering “training” or “instruction” that conflict with the IFA’s principles. Doc.

59-1 at § 10.005(2)(A). FBOG’s regulations further define these terms as:

              (b) “Training” is defined as a planned and organized
              activity conducted by the university as a mandatory
              condition of employment, enrollment, or participation in a
              university program for the purpose of imparting
              knowledge, developing skills or competencies, or
              becoming proficient in a particular job or role.

              (c) “Instruction” is defined as the process of teaching or
              engaging students with content about a particular subject


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             by a university employee or a person authorized to provide
             instruction by the university within a course.

Doc. 59 at § 10.005(1)(b), (c) (emphasis added). Thus, while the FBOG regulations’

proscription on “training” regulates universities themselves, their proscription on

“instruction” applies only to employees and instructors. Id. The fact that FBOG

regulates Dr. Cassanello’s speech by forcing universities to take a first crack at

investigating or disciplining him does not change the fact that FBOG is still, at

bottom, regulating Dr. Cassanello’s speech by its mandate on universities and own

investigation and enforcement authority.,

      Second, unlike in Lujan, the “independent actor not before the court” is not

an independent federal agency but a subordinate state entity subject to FBOG’s

governance. See Fla. Const. Art. 9, §7(b) (“There shall be a single state university

system comprised of all public universities. A board of trustees shall administer each

public university and a board of governors shall govern the state university

system.”); § 1008.322(1), Fla. Stat. (2021) (“The Board of Governors of the State

University System shall oversee the performance of state university boards of

trustees in the enforcement laws, rules, and regulations.”); § 1001.706(6)(a), Fla.

Stat. (2021) (requiring FBOG to “establish the personnel program for all employees

of a state university.”)

      Therefore, this case does not present a situation like in Lujan where an open

question exists as to whether the named defendant possesses the authority to regulate
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an “independent actor.” Rather, there is no question here that FBOG may regulate

universities to require them to implement (or refrain from implementing) the IFA.

Otherwise, FBOG would not even be voting on the regulations at issue. Indeed,

Defendants have previously urged this Court to treat the two entities as one and the

same. See (Doc. 44 at 23) (“to whatever extent public universities possess an

institutional right of academic freedom, that right is best understood as a right of

institutional autonomy from the judiciary, not the State that chartered it, governs it,

and provides its funding. Indeed, it is unclear how the Universities, as subordinate

organs of the State, could have First Amendment rights against the State or its

voters.”) (quotations omitted). Defendants cannot claim Florida’s universities are

“subordinate organizations of the state” for purposes of its First Amendment analysis

and then change their tune completely when arguing standing to claim those same

universities are now “independent actors not before the court.” (Doc. 60 at 2). As

such, Lujan’s “substantially more difficult” standard for challenges to regulations of

“independent actors not before the court” neither applies to nor addresses Dr.

Cassanello’s claims.

      A more persuasive comparison is the preliminary injunction this Court

granted in Gale Force Roofing & Restoration, LLC v. Brown, 548 F. Supp. 3d 1143,

1169 (N.D. Fla. 2021). That case involved a lawsuit seeking a preliminary injunction

against Florida’s Secretary of the Department Business and Professional Regulation


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from enforcing a statute that prohibited contractors from using advertisements that

“encourage[], instruct[], or induce[] a consumer to contact a contractor or public

adjuster for the purpose of making an insurance claim for roof damage.” Id. at 1151

(quoting § 489.1471(1), Fla. Stat., (2021)). The plaintiffs argued they faced a

constitutional injury through self-censorship since their planned advertisements

could subject them to disciplinary proceedings and a $10,000 fine. Id. at 1151.

      Notably, the disciplinary proceedings at issue in Gale Force would have been

overseen by the Construction Industry Licensing Board, composed of eighteen

members appointed by the governor, and confirmed by the senate. See § 489.107(1),

(2), Fla. Stat. (2021); § 489.129(1), Fla. Stat. (2021). Nevertheless, this Court found

the plaintiffs’ injuries were “fairly traceable” and “redressable” to enjoin the

Secretary of the Department of Business and Professional Regulation, because the

disciplinary proceedings overseen by the Construction Industry Licensing Board

were “within the jurisdiction of the Department.” Id. at 1155.

      It also noted that the Department had the authority, pursuant to Florida Statute

to “initiate an investigation if it has reasonable cause to believe that a licensee or

group of licenses has violated a Florida Statute, Rule of the Department, or a rule of

the Board.” Id. Finally, this Court rejected the defendants’ argument that the dispute

was not yet ripe without threatened enforcement of the new law, finding that the




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Department’s intent to enforce the challenged law could be inferred because the

plaintiffs had challenged the law several weeks after it was enacted. Id. at 1157.

      In Gale Force, this Court did not indulge in the game of three card monte

Defendants invite here and say the plaintiffs should have sought relief from the

Construction Industry Licensing Board, since the Board was the subordinate state

entity who ultimately would discipline or fine the plaintiffs for their planned

advertisements. See also Harriet Tubman Freedom Fighters Corp. v. Lee, 2021 WL

7083360 at *7–8 (N.D. Fla. Oct. 8, 2021) (holding restrictions on speech under voter

registration statute was “fairly traceable” to the Secretary of State because the

Secretary had the authority to “refer the matter to the Attorney General for

enforcement.”) Rather, it correctly recognized that the Board was a subordinate

political entity “within the jurisdiction” of the Secretary plaintiffs sought to enjoin.

This is no different from the relationship between FBOG and Florida’s universities

under the single state university system. See §1001.705(2)(l), Fla. Stat. (2021)

(noting that the Florida Board of Governors has responsibility for “complying with,

and enforcing for institutions under the board’s jurisdiction, all applicable local,

state, and federal laws.”)

      Also like the defendant in Gale Force, FBOG enjoys direct statutory authority

to investigate university faculty for violations of state law. See §1008.322(3), Fla.

Stat. (2021) (noting the Board’s Chancellor “may investigate allegations of


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noncompliance with any law or Board of Governors’ Rule or regulation and

determine probable cause. The chancellor shall report determinations of probable

cause to the Board of Governors, which may require the university board of trustees

to document compliance with the law or Board of Governors’ rule or regulation.”)

Similarly, FBOG’s proposed regulations grant it authority to conduct its own

investigations into violations of the IFA’s prohibition on offering “instruction” on

forbidden concepts. (Doc. 59-1 at § 10.005(4)). Finally, the legislature’s recent

changes to university professor tenure provide FBOG additional plenary authority

to review professors’ compliance with the IFA during their five-year post-tenure

review.

      In some respects, Defendants’ thigh bone, hip bone argument provides an apt

analogy. Whenever our hip bone moves, our thigh bone inevitably and predictably

follows. The problem with Defendants’ argument here is that this analogy assumes

a direct causation standard that Article III’s traceability analysis simply does not

require. The mere fact that FBOG threatens Dr. Cassanello with discipline through

mandates and threats to the universities under its jurisdiction rather than issuing

discipline itself does not render their actions untraceable to Dr. Cassanello’s injuries

for Article III purposes. As such, Dr. Cassanello’s injuries of self-censorship are

“fairly traceable” to FBOG.




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V.    Injunctive Relief Against FBOG Would Redress Dr. Cassanello’s
      Injuries
      Dr. Cassanello’s injuries are redressable through an injunction against FBOG

for much the same reasons that his injuries are fairly traceable to FBOG. The

redressability prong focuses on “whether the injury that a plaintiff alleges is likely

to be redressed through the litigation.” Sprint Comm’cns Co., L.P. v. APCC Servs.,

Inc., 554 U.S. 296, 287 (2008). A “substantial likelihood” of redressability is

sufficient to meet this prong. Duke Power Co. v. Env’t Study Grp., 438 U.S. 59, 79

(1979).

      When constitutional injuries stem from a defendant’s authority to investigate

or discipline violations of a constitutionally infirm statute, this Court has previously

held an order enjoining defendants from conducting such investigations or imposing

such discipline sufficient to meet the redressability prong. See Harriet Tubman

Freedom Fighters Corp., supra, at *9–10 (holding that enjoining Attorney General

and Secretary of State from using their powers to investigate and prosecute civil

enforcement proceedings for suspected violations of voter registration statute would

“go a long way” to addressing First Amendment freedom of speech and association

claim); Dream Defenders v. DeSantis, 559 F. Supp. 3d 1238, 1263 (N.D. Fla. 2021)

(holding plaintiffs’ injuries could be redressed through enjoining governor and one

sheriff, without needing to also enjoin the relevant state attorneys or remaining 63

other Sheriff’s Departments who could enforce anti-protest law against plaintiffs).

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      Here, FBOG’s proposed regulations show multiple ways in which Dr.

Cassanello’s injuries could be redressed through injunctive relief. This Court could

(and should) enjoin FBOG from requiring universities to adopt regulations enforcing

the IFA, (Doc. 59-1 at § 10.005(2)(a)), requiring universities to investigate

complaints of alleged violations of the IFA, (Doc. 59-1 at § 10.005(3)(a)), requiring

universities to discipline or terminate professors “where appropriate” who violate

the IFA, (Doc. 59-1 at § 10.005(3)(c)), investigating IFA violations (Doc. 59-1 at §

10.005(4)(a)), hiring outside consulting firms to investigate violations of the IFA,

(Doc. 59-1 at § 10.005(4)(a)), withholding performance funding from universities

based on their employees’ compliance with the IFA, (Doc. 59-1 at § 10.005(2)(a)),

labelling instruction that violates of the IFA as “discrimination on the basis of race,

color, national origin, or sex” (Doc. 59-1 at § 10.005(2)(a)); exercising its

Chancellor’s statutory authority to “investigate allegations of violations of any law

or Board Rule”, § 1008.322(3), Fla. Stat. (2021), or using its statutory authority to

consider violations of the IFA in its five-year post-tenure performance reviews,

Laws of Fla. 2022-70 (codified at §1001.706(6), Fla. Stat. (2022)).

      Even if FBOG does not ultimately adopt these regulations, its mere

consideration of them demonstrates their authority to force universities into

compliance with the IFA. Indeed, if FBOG’s governance over Florida’s single

university system empowers them to mandate every university under their


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jurisdiction to adopt regulations enforcing the IFA, it also stands to reason that

FBOG possesses the authority to pass regulations that prohibit enforcing the IFA if

the statute is found to violate the Constitution.

      Defendants may argue that, even if Dr. Cassanello obtains injunctive relief

against FBOG, such an injunction would not necessarily prevent universities from

enforcing the IFA on their own. Even if this Court assumes that maxim to be true,

Article III “does not demand that the redress sought by a plaintiff be complete.”

Moody v. Holman, 887 F.3d 1281, 1287 (11th Cir. 2018). The Supreme Court has

held that even $1 dollar of nominal damages can be sufficient to fulfill the

redressability requirement. See Uzuegbunam v. Preczewski, 141 S. Ct. 792, 801

(2021).

      Accepting this argument would also mean neither the IFA nor any of the other

myriad statutes incorporating private rights of action into their enforcement schemes

would ever be subject to a pre-enforcement challenge. As Defendants have pointed

out, “no judgment entered by this Court could prevent private parties from bringing

action under [Florida’s Education Equity Act], since any injunctive or declaratory

relief would not be binding on them.” (Doc. 56 at 8, n.3). As such, an injunction

against FBOG would—at minimum—partially redress Dr. Cassanello’s injuries, and

that is sufficient to demonstrate Article III standing.




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VI.    Conclusion

       When applying Article III’s standing requirement, courts should be mindful

that the root purpose of standing is to ensure that the parties “have such a personal

stake in the outcome of the controversy to assure that concrete adverseness which

sharpens the presentation of issues upon which the court so largely depends for

illumination.” Massachusetts v. EPA, 549 U.S. 497, 517 (2007) (quotation omitted).

Despite how the doctrine has, at times, been applied, Article III’s standing

requirements were not designed merely as a pothole to derail unsuspecting plaintiffs

navigating the road to vindicating their constitutional rights.

       Dr. Cassanello’s speech sits directly in the crosshairs of government

censorship imposed from the top down. If FBOG and Governor DeSantis believed

Florida’s universities would be inclined or even likely to enforce the IFA on their

own volition, they would not be considering such draconian punishments for

universities who fail to keep their professors in line. The real parties in dispute in

this litigation are the teachers whose speech is restricted and the top-level state

officials who desire to and have now demonstrably taken steps to restrict that speech.

The fact that those officials are waging their culture war against professors through

the proxies of state universities under their jurisdiction does not change the

fundamental character of this dispute.




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       The IFA’s enforcement mechanisms were designed to evade constitutional

challenge through doctrines like standing. Its drafters knew well that any university

would be reluctant to bring suit to challenge these provisions, given the culture of

fear this administration has perpetuated through its attacks on teacher tenure,

university accreditation, and most recently performance funding. See, e.g., the facts

giving rise to Austin v. University of Florida Board of Trustees, 2022 WL 195612 at

*4 (N. D. Fla. Jan 21, 2022); See also Hannah Natanson and Moriah Balingit, Caught

in the Culture Wars, Teachers Are Being Forced From Their Jobs, The Washington

Post (June 16, 2022) (describing how Duval county teacher was terminated for

putting a Black Lives Matter Flag in her classroom after Commissioner of Education

Richard Corcoran told a conservative audience “we made sure she was being

terminated.”), attached as Exhibit 3.

      However, the standing analysis’s core questions ask whether the defendant

caused the plaintiff’s injuries and whether those injuries can be redressed by a

judicial remedy against the defendant. In the case of FBOG, the answer to both

questions is yes. The proposed regulations demonstrate FBOG has broad authority

(which it intends to exercise) to require universities to enforce the IFA, require

universities to discipline professors, investigate violations of the IFA themselves,

and use violations of the IFA against professors directly in post-tenure reviews. As

such, Dr. Cassanello has standing to enjoin FBOG from enforcing the IFA.


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                              Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been furnished to

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                                           /s/ Jesse B. Wilkison
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